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 9
     Attorneys for Defendants
10   CITY AND COUNTY OF SAN FRANCISCO,
     LONDON. BREED, AMOS BROWN,
11   JOAQUIN TORRES, NAOMI KELLY,
     VALLIE BRO\VN, MAYOR'S OFFICE OF
12   WORKFORCE AND ECONOMIC DEVELOPMENT

13

14

15                                    UNITED STATES DISTRICT COURT

16                                 NORTHERN DISTRICT OF CALIFORNIA

17    AGONAFER SHIFERA W dba FILLMORE                  Case No. 18-CV-6830-SBA
      ENTERTAINMENT COMPLEX/REPUBLIC
18    OF FILLMORE LLC,                                 CITY AND COUNTY OF SAN FRANCISCO'S
                                                       RESPONSES TO PLAINTIFF'S REQUEST
19           Plaintiff~                                FOR ADMISSIONS, SET ONE

20           VS.

21    CITY AND COUNTY OF SAN
      FRANCISCO; Mayor LONDON BREED, in
22    her individual capacity and in her official
      former capacities as Mayor of San Francisco
23    and former District 5 Supervisor and President
      of the Board of Supervisors; AMOS BROWN,
24    in his individual capacity and in his official
      former capacity as chair of the Fillmore
25    Heritage Center RFP Review Panel;
      JOAQUIN TORRES, in his individual capacity
26    and in his official former capacity as Deputy
      Director of the Mayor's Office of Workforce
27    and Economic Development; NAOMI
      KELLY, in her individual capacity and in her
28    official ca acit as Cit Administrator;
      CCSF' S RESPONSE TO PLAINTIFF'S RF A# l           1                    n:\lit\li2019\190726\01375215.docx
      CASE NO. 18-CV-6830-SBA
                Case 3:18-cv-06830-RS Document 131-50 Filed 04/28/21 Page 2 of 6



  1            Subject to and without waiving the foregoing, the City responds as follows: The City admits

  2     that it has discussed the use of the Fillmore Heritage Center with one or more potential business
  ..,   entities in an attempt to activate the Fillmore Heritage Center on a temporary basis .
  .)



  4

  5     REQUEST FOR ADMISSION NO. 10:
  6            CCSF has, through one or more agents since March 23, 2019, made promises to other parties

  7     concerning the future use of the FHC.

  8            RESPONSE TO REQUEST FOR ADMISSION NO. 10:

  9            The City incorporates by reference its General Objections set forth above. The City objects to

1O this request for admission on the ground that it is vague and ambiguous because the phrase "made

11      promises" is not defined. The City further objects to this request for admission on the basis that it

12      exceeds the scope of any claim raised in Plaintiff's FAC or the City's anticipated defenses, and is not

13      proportional to the needs of this litigation. Fed. R. Civ. P 26(b )(1 ). Finally, the City objects to this

14      request because the information sought is protected by the deliberative process privilege. See, e.g.,

15      Hongsermeier, 621 F.3d at 903-904; Franklin Savings Ass 'n., 922 F.2d at 211-212; Federal Trade

16      Commission, 742 F.2d at 1161-1162.

17              Subject to and without waiving the foregoing, the City responds as follows: Deny.

18

19      REQUEST FOR ADMISSION NO. 11:

20             DEFENDANTS took no steps to consider Plaintiff's and Michael Johnson's May 2015 letter of

21      intent for Plaintiff to purchase the FHC, as presented by Mr. Johnson to Theo Miller by letter on May

22      15, 2015 (Exhibit D to Plaintiffs First Amended Complaint).
')..,
_.)            RESPONSE TO REQUEST FOR ADMISSION NO. 11:

24             The City incorporates by reference its General Objections set forth above. The City objects to

25      this request for admission on the ground that itis vague and ambiguous because the phrase "took steps

26      to consider" is not defined. The City further objects to this request for admission on the basis that it

27      exceeds the scope of any claim raised in Plaintiff's FAC or the City's anticipated defenses, and is not

28      proportional to the needs of this litigation. Fed. R. Civ. P. 26(b)(l). Finally, the City objects to this
         CCSF'S RESPONSE TO PLAINTIFF'S RFA #1                 8                            n:\lit\li2019\190726101375215.docx
         CASE NO. 18-CV-6830-SBA
              Case 3:18-cv-06830-RS Document 131-50 Filed 04/28/21 Page 3 of 6



 1   request because the information sought is protected by the deliberative process privilege. See, e.g.,

 2   Hongsermeier, 621 F.3d at 903-904; Franklin Savings Ass'n., 922 F.2d at 211-212; Federal Trade

 3   Commission, 742 F.2d at 1161-1162.
 4           Subject to and without waiving the foregoing, the City responds as follows: Deny.

 5
 6   REQUEST FOR ADMISSION NO. 12:
 7           DEFENDANTS had no reason to reject Plaintiffs and Michael Johnson's May 2015 letter of

 8   intent for Plaintiff to purchase the FHC (as presented by Mr. Johnson to Theo Miller by letter dated

 9   May 15, 2015; Exhibit D to Plaintiffs First Amended Complaint).

10           RESPONSE TO REQUEST FOR ADMISSION NO. 12:
11           The City incorporates by reference its General Objections set forth above. The City objects to

12   this request for admission on the ground that it is vague and ambiguous. The City further objects to

13   this request for admission on the basis that it exceeds the scope of any claim raised in Plaintiffs FAC

14   or the City's anticipated defenses, and is not proportional to the needs of this litigation. Fed. R. Civ. P.

15   26(b)(l). Finally, the City objects to this request because the information sought is protected by the

16   deliberative process privilege. See, e.g., Hongsermeier, 621 F.3d at 903-904; Franklin Savings Ass 'n.,

17   922 F.2d at 211-212; Federal Trade Commission, 742 F.2d at 1161-1162.

18           Subject to and without waiving the foregoing, the City responds as follows: Deny.

19

20   REQUEST FOR ADMISSION NO. 13:

21           CCSF, through one or more agents, acted to prevent Michael Johnson from selling the FHC to

22   Plaintiff.

23           RESPONSE TO REQUEST FOR ADMISSiON NO. 13:
24           The City incorporates by reference its General Objections set forth above. The City objects to

25   this request for admission on the ground that it is vague and ambiguous because the phrase "acted to

26   prevent" is not defined. The City further objects to this request for admission on the basis that it

27   exceeds the scope of any claim raised in Plaintiffs F AC or the City's anticipated defenses, and is not

28   proportional to the needs of this litigation. Fed. R. Civ. P. 26(b)(l). Finally, the City objects to this
      CCSF'S RESPONSE TO PLAINTIFF'S RFA #1                 9                           n:llitlli2-019\l90726101375215.docx
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 I   request because the information sought is protected by the deliberative process privilege. See, e.g.,

 2   Hongsermeier, 621 F.3d at 903-904; Franklin Savings Ass'n., 922 F.2d at 211-212; Federal Trade

 3   Commission, 742 F.2d at 1161-1162.

 4          Subject to and without waiving the foregoing, the City responds as follows: Deny.

 5

 6

 7   Dated: July 15, 2019
                                                  DENNIS J. HERRERA
 8                                                City Attorney
                                                  CHERYL ADAMS
 9                                                Chief Trial Deputy
                                                  THOMAS S. LAKRITZ
10                                                RYAN C. STEVENS
                                                  Deputy City Attorneys
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13
                                              B~'iMiAI    Si IA~
                                                THOMAS S. LAKRITZ

14                                                  ttorneys for Defendants
                                                  CITY AND COUNTY OF SAN FRANCISCO,
15                                                LONDON BREED, AMOS BROWN,
                                                  JOAQUIN TORRES, NAOMI KELLY,
16                                                VALLIE BROWN, MAYOR'S OFFICE OF
                                                  WORKFORCE AND ECONOMIC DEVELOPMENT
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     CCSF'S RESPONSE TO PLAINTIFF'S RFA #1               10                         n:\lit\li20I9\190726\01375215.docx
     CASE NO. 18-CV-6830-SBA
             Case 3:18-cv-06830-RS Document 131-50 Filed 04/28/21 Page 5 of 6


                                                VERIFICATION
 1

 2          I, Benjamin McCloskey, declare as follows:

 3          I am employed by the City and County of San Francisco, a defendant in this action, and am

 4   authorized to make this verification on its behalf. I have read and know the contents of the foregoing
 5
     CITY AND COUNTY OF SA.t~ FRANCISCO'S RESPONSES TO PLAINTIFF'S REQUEST
 6
     FOR ADMISSIONS, SET ONE, propounded to Defendant City and County of San Francisco. Some
 7
     of the matters stated in these responses are not within my personal knowledge and there is no
 8
     individual employee of the City who has personal knowledge of all such matters. These responses
 9

10   were prepared with the assistance of counsel for the City and these responses, subject to inadvertent

11   and undiscovered errors, are based upon and necessarily limited by the records and information still in

12   existence, presently recollected, and thus far discovered in the course of the preparation of these
13
     responses. The responses are true to the best of my knowledge, information and belief.
14
            I declare under penalty of perjury under the laws of the State of California that the foregoing is
15
     true and correct.
16

17            Executed this If day of July 2019, at San Francisco, California.
18

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      CCSF'S RESPONSE TO PLAINTIFF'S RFA #1               11                          n:\lit\li20 l 9\l 90726\0137 52 l 5.docx
      CASE NO. 18-CV-6830-SBA
               Case 3:18-cv-06830-RS Document 131-50 Filed 04/28/21 Page 6 of 6


                                                  VERIFICATION
  1

  2           I, Joaquin Torres, declare as follows:

  3           I am employed by the 'City and County of San Francisco, a defendant in this action, and am

  4    authorized to make this verification on its behalf. I have read and know the contents of the foregoing
  5
       CITY AND COUNTY OF SAN FRANCISCO'S RESPONSESTO PLAINTIFF'S REQUEST
  6
       FOR ADMISSIONS, SET ONE, propounded to Defendant City and County of San Francisco. Some
  7
       of the matters stated in these responses are not within my personal knowledge and there is no
  8
       individual employee of the City who has personal knowledge of all such matters. These responses
  9
 10    were prepared with the assistance of counsel for the City and these responses, subject to inadvertent

 11    and undiscovered errors, are based upon and necessarily limited by the records and information still in

 12    existence, presently recollected, and thus far discovered in the course of the preparation of these
 13
       responses. The responses are true to the best of my knowledge, information and belief.
 14
              I declare under penalty of perjury under the laws of the State of California that the foregoing is
 15
       true and correct.
 16

 17             Executed this   /5 day of July 2019, at San Francisco, California.
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                                                             be)~
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       CCSF'S RESPONSE TO PLAINTIFF'S RFA #!                12                          n:\I it\li20I9\190726\01375215 .docx
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